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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KATHY BARNETTE, individually and as a           :
 candidate for Pennsylvania’s 4th Congressional  :
 District and on behalf of all citizen electors of
                                                 : Civil Action No. 2:20-cv-05477
 Berks County, Pennsylvania, et al.              :
                                                 :
                                Plaintiffs,      :
             v.                                  :
                                                 :
 KENNETH E. LAWRENCE JR., Chair of the :
 Montgomery County Board of Elections and Vice :
 Chair of the Montgomery County Board of :
 Commissioners, in his official capacity, et al. :
                                                 :
                                Defendants.


                                            ORDER

         AND NOW, this November 4, 2020, IT IS HEREBY ORDERED and DECREED that

Plaintiff’s Motion for Temporary Restraining Order is immediately GRANTED, and the

Defendants are hereby ENJOINED from pre-canvassing contrary to the provisions of the Election

Code, ENJOINED from mishandling the defective ballots contrary to the provisions of the Election

Code, ENJOINED from commingling any perceived or actual defective mail-in ballots or any

perceived or actual defective absentee ballots with other ballots, and enjoined from commingling

any mail-in ballot or absentee ballot submitted to cure any defective ballot with other ballots. A

hearing on the merit is hereby listed for _______ day of __________, 2020.


Dated:
                                                     SAVAGE, J.
